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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11
                                                       (Subchapter V)
JLM COUTURE, INC.,
                                                       Case No. 23-11659 (JKS)
                              Debtor.




                 NOTICE OF WITHDRAWAL OF PROOF OF CLAIM NUMBER 9
                           FILED BY HALEY PAIGE GUTMAN

         Hayley Paige Gutman, hereby provides notice of withdrawal of her proof of claim (Claim

No. 9-1), filed on November 6, 2023 against JLM Couture, Inc. in the above captioned action.



Date: May 28, 2024                          Respectfully submitted,

                                            /s/ Rafael X. Zahralddin-Aravena
                                            Rafael X. Zahralddin-Aravena (DE Bar No. 4166)
                                            LEWIS BRISBOIS BISGAARD & SMITH, LLP
                                            500 Delaware Ave. Ste. 700
                                            Wilmington, DE 19801
                                            Telephone: (302) 985-6004
                                            Facsimile: (302) 985-6001
                                            Rafael.Zahralddin@lewisbrisbois.com




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